
USCA1 Opinion

	







           

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          Nos. 96-1916

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                      FRED AWON,

                                Defendant, Appellant.
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                  [Hon. George A. O'Toole, Jr., U.S. District Judge]
                                                ___________________

                                 ____________________


                                        Before

                                Stahl, Circuit Judge,
                                       _____________
                      Coffin and Aldrich, Senior Circuit Judges.
                                          _____________________

                                 ____________________

               Robert A. George for appellant.
               ________________
               James F. Lang,  Assistant United States Attorney,  with whom
               _____________
          Donald  K.  Stern,  United  States Attorney,  was  on  brief  for
          _________________
          appellee.

                                 ____________________

                                   February 2, 1998
                                 ___________________

























               COFFIN, Senior Circuit  Judge.  Defendant Fred  Awon appeals
                       _____________________

          his conviction for arson, use of  a fire to commit a felony,  and

          mail fraud.   He asserts that  the district court  erred in:  (1)

          admitting   prior  consistent   statements   of  two   government

          witnesses;  (2)  limiting  cross-examination  of  a witness;  (3)

          refusing  to grant a mistrial after improper cross-examination of

          defendant;  and (4)  imposing too  high a  base offense  level at

          sentencing.  Most of this opinion deals with the first issue.  We

          fault  the government  for pressing admission  and the  court for

          admitting the  evidence, but  conclude that  the error  could not

          have affected the verdict.  We affirm.



                                    I. BACKGROUND

               Defendant  was convicted by  a jury for  twice orchestrating

          the  arson of  a building  located  on Ames  Street in  Brockton,

          Massachusetts  ("the Ames building")  by hiring James  St. Louis,

          and two  brothers, Jorge  and Joaquim Neves,  to set  the fires.1

          The Ames  building, owned by defendant and  his father, contained

          vacant  retail  space  on  the   first  floor  and  two  occupied

          residential apartments  on the second  floor at the time  of both

          fires.  The first fire caused minimal damage; the second required

          the demolition of the building and two adjacent buildings.
                              
          ____________________

               1    St.  Louis and defendant  were tried together,  but St.
          Louis, indicted for setting both fires, was convicted for setting
          the second fire only.  Jorge Neves, who was involved in the first
          fire, was  never  charged,  but  Joaquim  was  indicted  on  four
          separate counts and,  before trial, entered into a plea agreement
          with  the government  whereby he  pled guilty  to arson  and mail
          fraud counts stemming from his role in the second fire.

                                         -2-














               We review the  evidence presented at trial  by defendant and

          the  government.    Because  defendant  does  not  challenge  the

          sufficiency  of the evidence,  we describe the  relevant evidence

          without favor to either party  to provide context for the claimed

          errors.  See United States v. Morla-Trinidad,  100 F.3d 1, 2 (1st
                   ___ _____________    ______________

          Cir. 1996).

          A.   The Neves Brothers
               __________________

               Jorge testified that,  in mid-1994, St. Louis  recruited him

          to help set fire to the building, stating that they would receive

          money and  a car as payment from defendant,  who owned a used car

          dealership.   Jorge admitted to pouring  and lighting gasoline on

          the first floor of the  building, at the direction of  St. Louis.

          Firefighters arrived shortly thereafter, preventing damage to the

          building;   as  a  result,  Jorge  never  received  payment  from

          defendant.

               Jorge's testimony  also revealed that the  government agreed

          not to  prosecute him in  exchange for his cooperation  in court,

          that for the  past six months he  had been held  in custody as  a

          material  witness and  wanted to  be  released, and  that he  had

          several criminal cases pending against him at the time of trial. 

               Joaquim testified that,  in the summer  of 1994, he  learned

          from  St. Louis' brother  that defendant was  looking for someone

          who would  burn down the Ames building.  Joaquim reported that he

          agreed to set the fire in exchange for $5,000, and then solicited

          St. Louis' assistance; but, an illegal immigrant, he was detained

          by the United States Immigration and Naturalization Service (INS)


                                         -3-














          before he could act.  After his release on bail, he and St. Louis

          told defendant they  would set the fire.   Joaquim testified that

          he witnessed  defendant agree to pay St.  Louis with a car valued

          at $2,900.   Joaquim admitted pouring gas on the first and second

          floors of the  Ames building, which  was then  lit by St.  Louis,

          resulting in an explosion and fire that destroyed the building.  

               Joaquim also testified that, the  day after the fire, he and

          St.  Louis  went to  defendant's  shop,  where St.  Louis  signed

          paperwork  for the car.  The following day, Joaquim went with St.

          Louis  to get the  car from defendant,  and a few  days later, he

          personally received $2,100 in cash from defendant.

               Joaquim  reported that, in exchange  for his testimony and a

          guilty plea, the government would  request that the court  depart

          downward from his guidelines sentence.  He also acknowledged that

          he feared impending  deportation, and  that he  had an  extensive

          criminal history.

               Defendant  denied soliciting either of the Neves brothers to

          commit arson.   He explained  that Joaquim had become  angry with

          him sometime prior  to the fire because defendant  had refused to

          provide him  with bail  from INS custody,  and had  twice ordered

          Joaquim off his car lot.  On  the first occasion, about two weeks

          before the second fire, Joaquim  told defendant that he wanted to

          buy an  expensive car, and became angry when defendant questioned

          him about  where he would  get the  money; the second  time, when

          defendant asked Joaquim whether he had been involved in the fire,

          Joaquim responded in the negative,  but smirked suspiciously.  On


                                         -4-














          cross-examination,  defendant stated  that he  did  not tell  the

          police when they interviewed him before trial about  any existing

          hostility between himself and Joaquim.

               St.  Louis'  brother  denied  having any  conversation  with

          defendant or Joaquim about burning defendant's property.  

          B.   The Car Transfer 
               ________________

               In addition to  Joaquim's testimony that defendant  paid St.

          Louis  with  a  car,  the  government  introduced  into  evidence

          business  records  belonging  to the  defendant's  auto  company.

          These indicate that defendant sold a  car to St. Louis for $2,000

          one day after  the second fire.   They also indicate that,  a few

          months  earlier,  the company  had  purchased that  same  car for

          $2,220. 

               Defendant  testified that  the  sale  to  St.  Louis  was  a

          legitimate  one,  for which  he  received  $2,000  in cash.    He

          explained that he sold  at a loss because the car  had mechanical

          problems and had  failed to sell for a few months at the intended

          price of  $3,500.   Defendant said that  he questioned  St. Louis

          about  the source of  the $2,000, and  that St.  Louis refused to

          answer him.2 

               Joaquim's mother  testified that,  when her  son was in  INS

          custody, she gave  St. Louis $1,000 toward the  $3,000 needed for

          his  bail and,  the following  day,  Joaquim was  released.   The

          defense argued that this evidence showed, inferentially, that St.

          Louis  had  supplied the  remaining  $2,000,  which,  as soon  as
                              
          ____________________

               2    St. Louis did not testify at trial.

                                         -5-














          Joaquim repaid  it, St. Louis used to buy the car from defendant.

          On cross-examination  by the government, Joaquim's  mother stated

          that she did  not know  whether St.  Louis put up  any money  for

          Joaquim's release on bail from INS custody.  

          C.   Motive
               ______

               The government  introduced evidence showing  that the  Awons

          were losing money on the Ames buildings and, at the time  of both

          fires, the property was insured  for loss to the structure of  up

          to $80,000, and  losses attributable to business  interruption of

          up to  $12,000.  After the  first fire, defendant and  his father

          negotiated  an  insurance  settlement in  the  amount  of $4,171.

          After the  second fire,  they negotiated  a settlement  totalling

          $91,176, and  then used this money  to pay their mortgage  on the

          property.

               Defendant's parents testified that all of the money invested

          in the Ames  building belonged  to them,  that their  son had  no

          responsibility  for   financial  expenditures   related  to   the

          building, and that  he had never received rental  income from the

          apartments.  They explained that their son's name was included on

          the deed  and mortgage  only because they  did not  speak English

          fluently  and  needed  their son's  assistance  to  translate the

          documents.    They  described their  son's  involvement  with the

          property  as limited  to showing  the  apartments to  prospective

          tenants and responding on occasion to maintenance requests.  They

          also stated  that they,  not their son,  received the  settlement

          money after the fires.


                                         -6-














               Defendant  testified  that,  while a  co-owner  of  the Ames

          building, he did not put up  any of the purchase money, make  any

          mortgage  payments, or  pay taxes  on  the property.   On  cross-

          examination,  however, the  government  introduced evidence  that

          defendant had made at least one mortgage payment on the property.

          Defendant then stated that he  could not remember having made any

          other  mortgage payments.   He  also admitted  that his  name was

          listed on  the settlement check  from the insurance  company, but

          maintained that his father received all the proceeds.



                 II. ADMISSION OF THE NEVES' OUT-OF-COURT STATEMENTS

               The first and only difficult  issue we consider in this case

          is the admission at trial  of out-of-court statements made by the

          Neves brothers.   Each brother made a written  and oral statement

          to police months before trial, implicating himself, St. Louis and

          defendant in the respective arsons.  These statements, which were

          otherwise inadmissible as  hearsay, were admitted at  trial under

          an  exception  for  prior consistent  statements.    We generally

          review admission  of hearsay  evidence for  abuse of  discretion.

          United States v.  Paulino, 13 F.3d 20,  25 (1st Cir. 1994).   But
          _____________     _______

          where, as here,  the issue concerns a factual determination, such

          as when the statement was made relative to a  suggested motive to

          fabricate, we review for clear error.  See United States v. Vest,
                                                 ___ _____________    ____

          842 F.2d 1319, 1329 (1st Cir. 1988).   We may affirm the district

          court's admission  of hearsay  testimony on  any ground  apparent




                                         -7-














          from the  appellate record.   United States  v. Alzanki,  54 F.3d
                                        _____________     _______

          994, 1008 (1st Cir. 1995). 

          A.   Rule 801(d)(1)(B)
               _________________

               The  district court allowed  use of the  Neves' out-of-court

          statements under  Fed. R. Evid.  801(d)(1)(B).  Under  that rule,

          prior consistent statements that would otherwise be  inadmissible

          hearsay evidence  may be  admitted into evidence  when:   (1) the

          declarant testifies at trial and is subject to cross-examination;

          (2) the challenged statements and trial testimony are consistent;

          and (3) the  challenged statements are offered to  rebut a charge

          that the  declarant recently fabricated  his story,  or that  the

          declarant became subject  to some improper influence or motive to

          falsify after making the statements.   See Tome v. United States,
                                                 ___ ____    _____________

          513  U.S. 150, 158  (1995) (holding that  consistent out-of-court

          statements  may  be  admitted   to  rebut  a  charge   of  recent

          fabrication  or  improper  influence or  motive  only  when those

          statements  pre-date  the  charged  fabrication,  influence,   or

          motive3).  

               The issue  of the  Neves' pre-trial  cooperation was  raised

          initially  on   cross-examination.    In   response  to   defense

                              
          ____________________

               3    In Tome, the prosecution  introduced a child's  out-of-
                       ____
          court statements  concerning sexual abuse by her  father, who had
          primary custody,  made while the  child was on vacation  with her
          mother.  The  defense argued at trial that  the child's testimony
          was motivated by her  desire to live with her mother.   The trial
          court  admitted the statements,  but the Supreme  Court reversed,
          reasoning that  their admission  was improper  because the  child
          possessed the same  motive -- to live  with her mother --  at the
          time she made  the out-of-court statements as  when she testified
          in court.  513 U.S. at 150-55, 166.

                                         -8-














          questions,  Jorge  testified  that   he  first  made   statements

          implicating himself,  defendant, and St.  Louis in the  fire only

          after the police said they knew he was involved and  promised not

          to charge him if he  cooperated.  Similarly, Joaquim explained on

          cross-examination  that   he  made  out-of-court   statements  to

          investigators only after they said they knew he had set the fire,

          had   a  lengthy  criminal  record,  and  was  being  sought  for

          deportation,   and  then  promised  that  they  would  bring  any

          cooperation to the prosecutor's attention.

               On  redirect  of   each  brother,  the  court   allowed  the

          government  to  introduce  their  out-of-court oral  and  written

          statements under  Rule 801(d)(1)(B).   The  oral statements  were

          introduced  through  the  testimony of  a  government  agent; the

          written statements  were admitted  as evidence.   The  government

          argued,   and  the  court  agreed,  that  these  statements  were

          admissible  to rebut  the motive  to  fabricate presented  by the

          defense,  namely, incentive  by  the  brothers  to  reduce  their

          punishment  for arson.   The defense  objected, arguing  that the

          alleged motive to fabricate pre-dated these statements, rendering

          Rule 801(d)(1)(B)  unavailable.  Defendant  renews this objection

          on appeal.

               Our review persuades us that  the defendant is correct.  The

          motive to fabricate alleged by the defense -- desire for leniency

          -- was the  same when the Neves brothers first  spoke with police

          as at  the time  of  their testimony  at trial.   The  government

          attempts  to  justify  use  of  the  out-of-court  statements  by


                                         -9-














          pointing out  that the  defense ascribed  additional motives  and

          influences to the Neves that  did not exist when the out-of-court

          statements were  made.   These  were, as  to Jorge,  that (1)  he

          testified to obtain release from a six-week long incarceration as

          a material witness; (2)  he hoped to receive in exchange  for his

          testimony some dispensation  in a different -- and  new -- matter

          pending against  him; (3)  his testimony was  influenced by  pre-

          trial  preparation with  the agent  who interviewed  him.   As to

          Joaquim, these were (1) anticipation of a lesser sentence under a

          plea agreement that promised a  government request for a downward

          departure  of his sentence following his  testimony at trial, and

          (2) trial preparatory sessions with  the government.  While it is

          true  that these allegations post-dated the out-of-court oral and

          written statements, the overarching motive alleged by the defense

          always was hope  of leniency,  and therefore,  the "new"  motives

          amount to no more than smaller subsets of the larger theme.   For

          instance,  the assertion that the prosecution directed the Neves'

          testimony assumes that  the brothers  had a reason  to do as  the

          government  requested,  namely,  hope of  a  reduced  sentence or

          charge.  Likewise, Jorge's desire to obtain release  from custody

          as a material witness was just a specific incarnation of his more

          general desire  not to be jailed for his  role in the first fire.

          See United  States v.  Albers, 93 F.3d  1469, 1482-84  (10th Cir.
          ___ ______________     ______

          1996)  (even where  the  circumstances  underlying  a  motive  to

          fabricate  have changed somewhat  -- a formal  plea agreement was

          entered after  the statement  was made,  but before  testimony at


                                         -10-














          trial -- prior  consistent statements remain inadmissible  if the

          motive remains essentially the same).  

               Because all the  defense allegations of motive  to fabricate

          grew from  the same  foundation -- a  pursuit of leniency  -- the

          brothers' out-of-court statements were erroneously admitted under

          Rule 801(d)(1)(B).

          B.   The Doctrine of Completeness
               ____________________________

               The   inadmissibility  of   these   statements  under   Rule

          801(d)(1)(B) does  not end  our  discussion, as  we must  explore

          whether the statements  could be properly admitted  on some other

          ground apparent from  the appellate record.  Alzanki,  54 F.3d at
                                                       _______

          1008.  The government argues that Joaquim's prior statements4 are

          admissible  under the doctrine  of completeness.   This doctrine,

          codified  in  Fed.  R.   Evid.  106,  holds  that  an   otherwise

          inadmissible recorded statement may  be introduced into  evidence

          where one side has made  a partial disclosure of the information,

          and full  disclosure would avoid  unfairness to the  other party.

          See Irons v.  FBI, 880  F.2d 1446, 1453  (1st Cir. 1989);  United
          ___ _____     ___                                          ______

          States v. Range, 94 F.3d 614, 620 (11th Cir. 1996). 
          ______    _____

               While defense counsel cross-examined Joaquim concerning  the

          substance of his  written interview statement, and  did highlight

          some inconsistencies between that  statement and Joaquim's  trial




                              
          ____________________

               4    The  government makes  no  such  claim  as  to  Jorge's
          statements, but  our analysis considers  the doctrine as  to both
          defendants, as we may affirm on any legal ground.

                                         -11-














          testimony,5 there is  no evidence that -- and  the government has

          made no  allegation that --  the introduction of these  pieces of

          information   created   any    unfairness   or   potential    for

          misimpression.    To  the  contrary,   the  government's  primary

          argument is  that the written  statements bolster the  Neves' in-

          court testimony.   The doctrine of  completeness does not  permit

          the admission of  otherwise inadmissible evidence  simply because

          one party has referred to a portion of  such evidence, or because

          a   few   inconsistencies  between   out-of-court   and  in-court

          statements  are revealed  through  cross-examination; rather,  it

          operates  to  ensure   fairness  where   a  misunderstanding   or

          distortion created  by the other party can only be averted by the

          introduction of the full text of the out-of-court statement.  See
                                                                        ___

          United States v. Ellis, 121 F.3d 908, 921 (4th Cir. 1997).  Here,
          _____________    _____

          the inconsistencies revealed were  minute insofar as  defendant's

          basic  involvement is concerned, and the Neves clearly identified

          defendant at trial as the mastermind of the Ames building arsons.

          The doctrine  of completeness therefore does not  provide a basis

          for introduction of the earlier statements.

          C.   Harmless Error
               ______________

               The government argues  that, even if the introduction of the

          statements  constitutes error,  the  error  was  harmless.    The

          erroneous admission of hearsay requires reversal unless the error
                              
          ____________________

               5    Among other minor inconsistencies, the defense  brought
          out Joaquim's  earlier claims  that he was  solicited to  set the
          fire by  defendant directly  rather than  by St. Louis'  brother,
          that he received $2,500 rather  than $2,100 in payment, and that,
          though both were together, he and not St. Louis lit the gasoline.

                                         -12-














          is shown  to be harmless beyond  a reasonable doubt.   See United
                                                                 ___ ______

          States v. Lombard, 72 F.3d 170, 187 (1st Cir. 1995).
          ______    _______

               By definition, prior consistent statements do not consist of

          new   substantive   information.     Their   impact   comes  from

          corroborating other, perhaps less compelling, evidence.  The form

          in which the material  is presented to  the jury also may  affect

          its weight  if legitimacy,  possibly otherwise  weak, is  thereby

          attached to  the statements.   See United  States v.  Siegel, 717
                                         ___ ______________     ______

          F.2d  9,  19 (2d  Cir. 1983).    The question  we must  answer is

          whether  corroboration resulting  from  the  introduction of  the

          prior   consistent   statements  influenced   the  jury   to  the

          defendant's detriment.   See  United States  v. Quinto, 582  F.2d
                                   ___  _____________     ______

          224,  236  (2d  Cir.  1978)  (finding  such influence  where  the

          erroneously  admitted  out-of-court  written  statement  was   an

          official  Internal  Revenue  Service  document,  and  a  lengthy,

          detailed  "condensation of  the government's  whole case  against

          defendant").

               As   with   the  typical   admission  of   prior  consistent

          statements,  the introduction of  the out-of-court statements did

          not themselves supply  any new information to the  jury.  Rather,

          the testimony  adduced at  trial was  complete and convincing  in

          tying  defendant to the crime.   Not only did the Neves implicate

          themselves,  St. Louis  and  defendant at  trial,  but on  cross-

          examination,   they   revealed    having   reported   defendant's

          solicitation of them to authorities months before trial.    




                                         -13-














               Nonetheless,   both   the   oral  and   written   statements

          unquestionably had some effect.  The government agent's testimony

          about the oral  confessions lent a measure of  credibility to the

          Neves' stories, if  only because a government agent  was shown to

          have believed them.   Similarly, the written  statements, because

          they were reduced  to print and reviewable  during deliberations,

          added weight to the in-court  testimony.  See id. (describing the
                                                    ___ ___

          introduction   of  written   consistent   statements  as   "[t]he

          government witnesses in  effect accompan[ying] the jury  into the

          jury room.")   But, unlike the statements in  Quinto, the written
                                                        ______

          confessions  were not detailed, official documents from an agency

          denoting authority.  Rather, they were fairly compact -- one just

          over  one page,  the other,  just over  two pages  -- handwritten

          statements   made  by  the  witnesses  themselves,  replete  with

          grammatical  and  spelling  errors.     While  revealing   slight

          inconsistencies, the out-of-court statements essentially amounted

          to an abbreviation  of the Neves' in-court  testimony implicating

          defendant.6      This  in-court   testimony,  supported   by  the

          circumstantial   evidence  of  motive   and  car   transfer,  was

          unwavering and unambiguous.  



                              
          ____________________

               6    On direct,  the prosecution failed to  elicit testimony
          from Jorge  implicating defendant, but  on cross-examination, the
          defense   several  times   led   Jorge   to  affirm   defendant's
          involvement,  which testimony was confirmed on redirect.  Because
          Jorge's   testimony  on direct  alone  did not  clearly implicate
          defendant and did not reveal the prior statements to authorities,
          our analysis would  be different if we had only this testimony to
          consider.

                                         -14-














               The exculpatory  evidence presented by defendant was minimal

          and largely  unsupported.  For  example, it  seems unlikely  that

          defendant would sell a car at a loss, and $1,500 less than asking

          price, without  first attempting to  sell it at a  price slightly

          reduced  from $3,500.    In  addition, the  timing  of the  sale,

          shortly after the second fire, was  highly suspect, and defendant

          had an undeniable  economic motive to burn the  property, even if

          the  jury  believed  his  claim that  his  parents  received  the

          insurance proceeds.  Nor does defendant's explanation of how  St.

          Louis came into $2,000 seem plausible; first, it assumes that St.

          Louis had $2,000  to lend Joaquim for bail  and second, Joaquim's

          mother testified  that she  had no knowledge  that St.  Louis had

          contributed toward  Joaquim's bail.   Similarly, while  defendant

          and his parents claimed that he had no financial interest  in the

          Ames building,  the circumstantial  evidence presented  indicated

          otherwise; for instance, his name was listed on all Ames building

          legal documents, including the settlement check, and, despite his

          initial testimony to the contrary,  he made at least one mortgage

          payment on the property.  Finally, defendant's claim that Joaquim

          would have  sufficient animosity  toward him to  set the  fire or

          testify  against  him  seems  unlikely,  and  is  unsupported  by

          evidence other than defendant's own  testimony.  As the  evidence

          against defendant was plentiful and  in no way illuminated by the

          out-of-court  statements, we  are persuaded  beyond a  reasonable

          doubt   that  the  statements  did  not  influence  the  jury  to

          defendant's detriment.   We emphasize that it is  the strength of


                                         -15-














          the evidence properly introduced  at trial implicating  defendant

          that renders this serious error harmless.

               That the statements  constituted unnecessary emphasis  makes

          the government's efforts to introduce them particularly difficult

          for  us  to understand.    Where  the law  so  clearly  bars such

          statements and the evidence is so  weighty against the defendant,

          the  government's arguments for their introduction strike us as a

          serious and careless abuse of  the rules of evidence.  This  fact

          notwithstanding, the  evidence compels us to find  that the error

          was a legally harmless one.  



             III. ALLEGED ERRORS DURING CROSS-EXAMINATION AND SENTENCING

               Defendant argues that  the district court erred  in limiting

          his  cross-examination of Joaquim, that the prosecutor improperly

          implied,  without basis,  that he  had  funded his  codefendant's

          defense, and  finally, that  the court erred  in calculating  the

          defendant's base offense level for  two arson counts.  We examine

          each allegation in turn.

               Defendant contends that  the trial court violated  his Sixth

          Amendment right to confront adverse witnesses when it  refused to

          allow him to question Joaquim  about his history of drug dealing.

          A  trial court's restriction of cross-examination may be reversed

          only for abuse of  discretion.  United States v.  Ovalle-Marquez,
                                          _____________     ______________

          36 F.3d 212, 217  (1st Cir. 1994).  To show  abuse, the defendant

          must  demonstrate  that  the restriction  left  the  jury without

          sufficient information to make a discriminating assessment of the


                                         -16-














          witness'  bias or  motives.   United States  v. Twomey,  806 F.2d
                                        _____________     ______

          1136, 1140 (1st Cir. 1986).  

               Defendant  maintains that  the  testimony  should have  been

          admitted because it supports the defense theory  that Joaquim set

          fire  to the  Ames building  on  his own  initiative to  dissuade

          defendant,   a   past   informant   for   the   Drug  Enforcement

          Administration  ("DEA"),  from reporting  his  drug dealing,  or,

          alternatively,  as revenge  because  he  believed  defendant  had

          already  reported him.   During a  sidebar discussion,  the court

          asked for  some offer  of proof from  defendant that  Joaquim had

          reason to  believe that defendant  would report  him.   Defendant

          offered  evidence  that,  before the  second  fire,  Joaquim told

          defendant that he would soon be getting a great deal of money and

          that Joaquim became  hostile when defendant questioned  him about

          its source.   Joaquim,  however stated on  voir dire that  he had

          been  unaware that defendant  was a DEA  informant, and defendant

          offered no  evidence in  rebuttal.   Concluding that  defendant's

          offered evidence was too tenuous, the court prohibited the cross-

          examination about drug dealing.

               In  light  of  the sparse  evidence  presented  by defendant

          linking Joaquim's drug-dealing to a  motive to burn down the Ames

          building,  no  showing  that  Joaquim  knew  that  defendant  had

          reported drug dealers to  the DEA, and extensive opportunity  for

          the  defense to  question  Joaquim as  to bias  and  motive on  a

          variety of other issues for which there was an evidentiary basis,

          we find that  the court did not abuse its discretion in excluding


                                         -17-














          this line of questions.       Defendant   also   challenges   the

          court's failure  to grant a  mistrial after the  government asked

          him whether he had  agreed to pay St. Louis' defense  costs.  St.

          Louis'  attorney objected  to this  questioning  and requested  a

          mistrial on the ground that the information on which it was based

          was unreliable and misleading.  The court sustained the objection

          but   denied  the  mistrial,   opting  instead  for   a  curative

          instruction which  directed the  jury to  disregard the  question

          because  the  government  offered no  evidentiary  basis  for it.

          Although  joining  in  the request  for  a  curative instruction,

          defendant's attorney did not join  in the request for a mistrial,

          and at no time did he object to any portion of the instruction or

          allege its insufficiency.  

               Because  the defense  failed to  raise this issue  below, we

          review it only  for plain error.  United States v. Crochiere, 129
                                            _____________    _________

          F.3d 233, 237 (1st Cir. 1997).  Even assuming the questioning was

          improper, we conclude that the  court properly refused to grant a

          mistrial,  and that  it presented the  jury with  a comprehensive

          curative    instruction,    wholly   satisfactory    under    the

          circumstances.  "Declaring  a mistrial is a last  resort, only to

          be  implemented if  the  taint  [from  improper  information]  is

          ineradicable, that is, only if  the trial judge believes that the

          jury's  exposure to  the  evidence  is  likely  to  prove  beyond

          realistic hope of  repair."  United States v.  Sepulveda, 15 F.3d
                                       _____________     _________

          1161, 1184 (1st  Cir. 1993).   In this case, the  questioning was

          brief, and the  judge was careful to explain to the jury that (1)


                                         -18-














          the question was  improper; (2) there was  no offered evidentiary

          basis  for the  facts  suggested  by the  question;  and (3)  the

          question should be  disregarded "entirely."   As we presume  that

          juries follow  the court's  instructions, and  defendant has  not

          shown  that  the  questioning resulted  in  serious  prejudice as

          required  to overcome the  presumption, United States  v. Rullan-
                                                  _____________     _______

          Rivera, 60  F.3d 16,  18 (1st  Cir. 1995),  we conclude that  the
          ______

          court did not commit plain error. 

               Finally, defendant contends that the court erred in using  a

          base offense level of twenty-four rather than twenty on the arson

          counts.   The higher level applies  if the defendant can be found

          to have knowingly created a  substantial risk of death or serious

          bodily  injury; the  lower  level  applies  where  the  "knowing"

          element is not met.  U.S.S.G.    2K1.4(a)(1), (2).  Defendant was

          convicted for two separate acts  of arson, based on evidence that

          he hired  others  to  burn  down  a  residential  and  commercial

          property to collect insurance proceeds.  It does not follow that,

          as defendant contends, because the fires were carried forth in an

          "amateurish"  fashion, his  effort to  burn a  building in  which

          people  lived was  anything other  than a  knowing creation  of a

          substantial risk of death or serious bodily injury.  We therefore

          reject the argument as without merit.



               For the reasons stated above,  we affirm the judgment of the
                                                 affirm
                                                 ______

          district court.




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